                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR08-3013-MWB
 vs.                                                ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
                                               RECOMMENDATION REGARDING
 KATHY PECK,                                     DEFENDANT’S MOTION TO
                                                 DISMISS INDICTMENT AND
                                                   MOTION TO SUPPRESS
                Defendant.

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                       I. INTRODUCTION AND BACKGROUND
         On April 24, 2008, an indictment was returned against defendant Kathy Peck,
charging defendant with conspiring to distribute 500 grams or more of methamphetamine
and to distribute 50 grams or more of pure methamphetamine within 1000 feet of a school,
in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 846 and 860(a). On September 16,
2008, defendant Peck filed a Motion to Dismiss Indictment and Motion to Suppress.
Defendant Peck contends that the conduct with which she is currently charged in this case
is identical to conduct that formed the basis for a state criminal charge to which she pled
guilty on March 8, 2007. Defendant Peck argues that the current charge therefore violates
her right against double jeopardy. Alternatively, defendant Peck contends that the court
should suppress all the evidence that formed the basis of the state criminal charge.
         Defendant Peck’s motions to dismiss and suppress were referred to Chief United
States Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). On October 15,


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2008, Judge Zoss filed a Report and Recommendation in which he recommends that
defendant Peck’s motions to dismiss and suppress both be denied. Judge Zoss concluded
that the United States Department of Justice’s Petite policy is a discretionary policy which
does not confer any substantive rights. Judge Zoss also concluded that the state charge
significantly differed from the current conspiracy charge. Neither the government nor
defendant Peck have filed objections to Judge Zoss’s Report and Recommendation.


                                 II. LEGAL ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.


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Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of October 15, 2008, and orders
that defendant Peck’s Motion to Dismiss Indictment and Motion to Suppress are denied.




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  IT IS SO ORDERED.
  DATED this 23rd day of October, 2008.


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                                       MARK W. BENNETT
                                       U. S. DISTRICT COURT JUDGE
                                       NORTHERN DISTRICT OF IOWA




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